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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                CLARKSBURG
UNITED STATES OF AMERICA,

                     Plaintiff,
v.                                          Case No.: 1:16-CR-86-02
                                            (JUDGE KEELEY)
JENNIFER Y. LUCAS,

                    Defendant.

                      REPORT AND RECOMMENDATION
                 CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by
                                                                             the
 District Court for purposes of conducting proceedings pursuant to Federal
                                                                              Rule of
 Criminal Procedure 11 (Dkt. No. 30). Defendant, Jennifer Lucas, in person
                                                                           and by
 Federal Public Defender, Brian Kornbrath, appeared before me on January 20,
                                                                               2017.
 The Government appeared by Assistant United States Attorney, Traci Cook.
                                                                                    The
 Court determined that Defendant was prepared to enter a plea of “Guilty’
                                                                            to Count
 Four (4) of the Indictment.

       The Court proceeded with the Rule 11 proceeding by first placing Defendant

 under oath and inquiring into Defendants competency. The Court determ
                                                                       ined
 Defendant was competent to proceed with the Rule 11 plea hearing and caution
                                                                                    ed
 and examined Defendant under oath concerning all matters mentioned in Rule
                                                                              11.
       The Court next inquired of Defendant concerning her understanding of her

 right to have an Article III Judge hear the entry of her guilty plea and
                                                                          her
 understanding of the difference between an Article Ill Judge and a Magist
                                                                           rate
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 Judge.     Defendant thereafter stated in open court that she voluntarily
                                                                           waived her
 right to have an Article Ill Judge hear her plea and volunt
                                                                  arily consented to the
 undersigned Magistrate Judge hearing her plea. Defendant
                                                          tendered to the Court a
 written Waiver of Article Ill Judge and Consent to Enter
                                                          Guilty Plea before
 Magistrate    Judge.     The waiver and consent       was    signed     by Defendant,
 countersigned by Defendant’s counsel, and concurred by
                                                        the signature of the
Assistant United States Attorney.

          Upon consideration of the sworn testimony of Defendant, as
                                                                     well as the
 representations of her counsel and the representations of
                                                           the Government, the
 Court finds that the oral and written waiver of an Article Ill
                                                                  Judge and consent to
enter a guilty plea before a Magistrate Judge was freely and
                                                             voluntarily given.
Additionally, the Court finds that the written waiver and cons
                                                               ent was freely and
voluntarily executed by Defendant Jennifer Lucas only after having
                                                                          had her rights
fully explained to her and having a full understanding of thos
                                                               e rights through
consultation with her counsel, as well as through questioning
                                                                    by the Court.   The
Court ORDERED the written Waiver and Consent to Enter
                                                                   Guilty Plea before a
Magistrate Judge filed and made part of the record.

       Thereafter, the Court determined that Defendant’s plea was
                                                                          pursuant to a
written plea agreement, and asked the Government to tender
                                                              the original to the Court.
The Court asked counsel for the Government if the agre
                                                       ement was the sole
agreement offered to Defendant.       The Government responded that it was, and

counsel for Defendant confirmed the same.         The Court asked counsel for the


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 Government to summarize the written plea agreement. Counsel
                                                             for Defendant and
 Defendant stated that the agreement as summarized by counsel
                                                                 for the Government
 was correct and complied with their understanding of
                                                      the agreement. The
 undersigned further inquired of Defendant regarding her understandin
                                                                      g of the written
 plea agreement. Defendant stated she understood the terms
                                                           of the written plea
 agreement and also stated that it contained the whole of her
                                                                 agreement with the
 Government and no promises or representations were
                                                    made to her by the
 Government other than those terms contained in the written plea
                                                                     agreement. The
 Court ORDERED the written plea agreement filed.

       The undersigned then reviewed with Defendant Count Four
                                                               (4) of the
 Indictment and the elements the Government would have to prove,
                                                                    charging her with
Distribution of Cocaine Base in violation of 21 U.S.C. 841(a)
                                                      §       (1). Subsequently,
Defendant Jennifer Lucas pled GUILTY to the charge contained
                                                                 in Count Four (4) of
the Indictment.    However, before accepting Defendant’s plea, the undersigned

inquired of Defendant’s understanding of the charges against
                                                             her, inquired of
Defendant’s understanding of the consequences of her pleading
                                                                guilty to the charges,
and obtained the factual basis for Defendant’s plea.

       The Government proffered a factual basis for the plea.    Neither counsel for
Defendant nor Defendant disputed the proffer when given the opportunity
                                                                          to do so.
Defendant stated she heard, understood, and did not disagree with
                                                                    the Government’s
proffer. Additionally, Defendant provided a factual basis for the commi
                                                                        ssion   of the
offense.   The undersigned Magistrate Judge concludes the offense charge
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 Count Four (4) of the Indictment is supported by an independent basis in fact

 concerning each of the essential elements of such offense.

       The undersigned then reviewed with Defendant the statutory penalties

 applicable to an individual adjudicated guilty of the felony charge contained in Count

 Four (4) of the Indictment and the impact of the sentencing guidelines on sentencing

 in general.     From said review, the undersigned Magistrate Judge determined

 Defendant understood the nature of the charges pending against her and that the

 possible statutory maximum sentence which could be imposed upon her conviction

 or adjudication of guilty on Count Four (4) was term of imprisonment of not more

 than twenty (20) years. The undersigned further determined Defendant understood a

 fine of not more than not more than $1,000,000.00 could be imposed, both fine and

 imprisonment could be imposed, she would be subject to a period of at least not

 more than three (3) years of supervised release years of supervised release, and

 the Court would impose a special mandatory assessment of $100.00 for the felony

 conviction    payable   on or before the date of sentencing. Defendant also

 understood that her sentence could be increased if he had a prior firearm offense,

 violent felony conviction, or prior drug conviction. She also understood she might be

 required by the Court to pay the costs of her incarceration, supervision, and

 probation.

      The undersigned also informed Defendant whether she understood that by

 pleading guilty she was forfeiting other rights such as right to vote, right to serve on a

jury, and the right to legally possess a firearm.


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       Additionally, the undersigned asked Defendant whether she understood that if

 she were not a citizen of the United States, by pleading guilty to a felony charge she

 would be subject to deportation at the conclusion of any sentence; that she would be

 denied future entry into the United States; and that she would be denied citizenship if

 she ever applied for it. Defendant stated that she understood.

        The undersigned also reviewed with Defendant her waiver of appellate and

 collateral attack rights.   Defendant understood that she was waiving her right to

 appeal her conviction and sentence to the Fourth Circuit Court of Appeals on any

 ground whatsoever, including those grounds set forth in             18 U.S.C.   § 3742.
 Defendant further understood that under her plea agreement, she was waiving her

 right to challenge her conviction and sentence in any post-conviction proceeding,

 including any proceeding under 28 U.S.C.          § 2255.        Defendant understood,

 however, that she was reserving the right to raise claims of ineffective assistance of

 counsel or prosecutorial misconduct that she learned about after the plea hearing

 and agreed that she was unaware of any ineffective assistance of counsel or

 prosecutorial misconduct in her case at this time. From the foregoing, the

 undersigned determined that Defendant understood her appellate rights and

knowingly gave up those rights pursuant to the conditions contained in the written

plea agreement.

       The undersigned Magistrate Judge further examined Defendant relative to her

knowledgeable and voluntary execution of the written plea bargain agreement, and

determined     the   entry   into said written   plea bargain     agreement was both


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 knowledgeable and voluntary on the part of Defendant.

       The    undersigned Magistrate Judge further inquired of       Defendant, her
 counsel, and the Government as to the non-binding            recommendations and
 stipulations contained in the written plea bargain agreement and determined that

 Defendant understood, with respect to the plea bargain agreement and to

 Defendant’s entry of a plea of guilty to the felony charge contained in Count Four

 (4) of the Indictment. The undersigned Magistrate Judge informed Defendant that he

would write the subject Report and            Recommendation and    a   pre-sentence
 investigation report would be prepared by the probation officer attending the

 District Court. The undersigned advised the Defendant that the District Judge

would adludicate the Defendant guilty of the felony charged under Count Four (4) of

the Indictment. Only after the District Court had an opportunity to review the pre

 sentence investigation report, would the District Court make a determination as to

 whether to accept or reject any recommendation or stipulation contained within the

 plea agreement or pre-sentence report. The undersigned reiterated to Defendant that

the District Judge may not agree with the recommendations or stipulations contained

 in the written agreement. The undersigned Magistrate Judge further advised

 Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the event

the District Court Judge refused to follow the non-binding recommendations or

stipulations contained in the written plea agreement and/or sentenced her to a

sentence which was different from that which she expected, she would not be

permitted    to withdraw   her guilty plea.     Defendant   and   her counsel each


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 acknowledged their understanding and Defendant maintained her desire to have

 her guilty plea accepted.

       Defendant also understood that her actual sentence could not be calculated

 until after a pre-sentence report was prepared and a sentencing hearing conducted.

 The undersigned also advised, and Defendant stated that she understood, that the

 Sentencing Guidelines are no longer mandatory, and that, even if the District Judge

 did not follow the Sentencing Guidelines or sentenced her to a higher sentence than

 she expected, she would not have a right to withdraw her guilty plea.      Defendant

 further stated that her attorney showed her how the advisory guideline chart worked

 but did not promise her any specific sentence at the time of sentencing.   Defendant

 stated that she understood her attorney could not predict or promise her what actual

 sentence she would receive from the sentencing judge at the sentencing hearing.

 Defendant further understood there was no parole in the federal system, but that

 she may be able to earn institutional good time, and that good time was not

 controlled by the Court, but by the Federal Bureau of Prisons.

        Defendant, Jennifer Lucas, with the consent of her counsel, Brian Kornbrath

 proceeded to enter a verbal plea of GUILTY to the felony charge in Count Four

 (4) of the Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge

 finds that Defendant is fully competent and capable of entering an informed plea;

  Defendant is aware of and understood her right to have an Article Ill Judge hear and

  accept her plea and elected to voluntarily consent to the undersigned United States


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Magistrate Judge hearing her plea; Defendant understood the charges against her,

not only as to the Indictment as a whole, but in particular as to Count Four (4) of the

Indictment; Defendant understood the consequences of her plea of guilty, in

particular the maximum statutory penalty to which he would be exposed for Count

Four (4); Defendant made a knowing and voluntary plea of guilty to Count Four (4) of

the   Indictment;   and   Defendant’s   plea      is   independently   supported    by the
Government’s proffer which provides, beyond a reasonable doubt, proof of each of

the essential elements of the charges to which Defendant has pled guilty.

       The undersigned Magistrate Judge therefore recommends Defendant’s plea of

guilty to Count Four (4) of the Indictment herein be accepted conditioned upon the

Court’s receipt and review of this Report and Recommendation.

       The undersigned magistrate judge released Defendant on the terms of the

 Order Setting Conditions of Release (Dkt. No. 27) filed on December 21, 2017,

       Any party may, within fourteen (14) days after being served with a copy of this

 Report and Recommendation, file with the Clerk of the Court written objections

 identifying the portions of the Report and Recommendation to which objection is

made, and the basis for such objection. A copy of such objections should also be

 submitted to the Honorable Irene M. Keeley, United States District Judge.         Failure to

timely file objections to the Report and Recommendation set forth above will result

 in waiver of the right to appeal from a judgment of this Court based upon such

 report and recommendation.      28 U.S.C.       § 636(b)Q); United    States v. Schronce,

727 F.2d 91(4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins,


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 766 F.2d 841 (4th Cir. 1985); Thomas v. Am, 474 U.S. 140 (1985).

       The Clerk of the Court is directed to send a copy of this Report and

 Recommendation to counsel of record.


Respectfully submitted on January 20, 2017,




                                        UNITED STATES MAGISTRATE JUDGE




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